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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )       No. 2:23-cr-20191-MSN
                                               )
EMMITT MARTIN, III                             )

                          NOTICE OF UPDATE BY MR. MARTIN
                      ON STATUS OF STATE COURT PROCEEDINGS

       Emmitt Martin, III, through counsel, and pursuant to the Court’s Order (Order Directing

Government Response and Defendant Update on State Charges, ECF No. 839, PageID 15932),

hereby provides an update on the status and next setting of his pending state charges:

       1.      With respect to Mr. Martin, there is not a current setting in the pending state case,

State of Tennessee v. Emmitt Martin, Criminal Court for the Thirtieth Judicial District at Memphis,

Tennessee, Division III, Case No. C2300403/2300241. This week (June 10–13, 2025) is the annual

Tennessee Judicial Conference, a time when state courts are less available to consult for scheduling

matters. Next Wednesday, assuming this Court continues Mr. Martin’s sentencing hearing, Mr.

Martin’s undersigned counsel are meeting with the Shelby County District Attorney General’s

Office. It is anticipated the parties will discuss scheduling and a next setting for Mr. Martin’s case.

       2.      In this case, Mr. Martin provided expert analysis of his well-documented mental

health issues that make him differently situated than his co-defendants and mitigate his

involvement in the offense. See (Response to Government’s Motion to Limit Expert Testimony of

Dr. Malcolm Spica, ECF No. 383) (summarizing expert opinions); (Notice Pursuant to Federal

Rule of Criminal Procedure 12.2(b)(1), ECF No. 154, PageIDs 815–830); see also (Order on

Sealing, ECF No. 350, PageID 4712) (ordering that ECF No. 154 be unsealed).
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       3.      Relying on the expert mental health evidence provided to this Court, Mr. Martin

intends to file today a Notice in the state homicide case, informing the Shelby County District

Attorney General’s Office and the Shelby County Criminal Court of this information, which is

related to “a mental disease or defect or any other mental condition of the defendant bearing on

the issue of his or her guilt.” See Tenn. R. Crim. P. 12.2(b)(1).

       4.      In Mr. Martin’s motion to continue, counsel noted that in addition to forensic

neuropsychologist Dr. Spica’s unavailability, Dr. Agharkar, the forensic psychiatrist who has

evaluated Mr. Martin and offered expert evidence for this Court, was potentially unavailable to

travel from his office in Atlanta, Georgia, and testify before this Court on June 18, 2025. Since the

filing of that motion to continue, Dr. Agharkar has informed Mr. Martin’s counsel that he is in the

process of traveling to Hawaii, and he is there the entirety of the week of June 18, 2025, conducting

an expert review of mental health services in prison facilities in Hawaii’s Department of

Corrections and Rehabilitation pursuant to Opulento; et al. v. State of Hawaii Department of

Public Safety; et al., No. 1:19-cv-00315 (D. Hawaii), ECF No. 173-3 (Settlement Agreement, filed

April 21, 2025), ECF No. 176 (Order) (approving settlement).

       5.      Accordingly, both Dr. Spica and Dr. Agharkar are unavailable to offer expert

testimony before this Court on June 18, 2025.

       WHEREFORE, Mr. Martin respectfully renews his motion to continue the sentencing

hearing scheduled for June 18, 2025, at 9:30 am central. See (Notice of Setting, ECF No. 822,

PageID 15743).
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       Respectfully submitted this 13th day of June, 2025.

                                           RITCHIE, JOHNSON, & STOVALL, P.C.

                                           /s/ Stephen Ross Johnson
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                                 CERTIFICATE OF SERVICE

         I certify that on June 13, 2025, a copy of the foregoing was filed electronically. Notice of
this filing will be sent by operation of the Court’s electronic filing system to all parties indicated
on the electronic filing receipt. All other parties will be served by regular U.S. mail. Parties may
access this filing through the Court’s electronic filing system.

                                            s/Stephen Ross Johnson
